Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.349 Filed 04/24/24 Page 1 of 22




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
RIGHT TO LIFE OF MICHIGAN; AMERICAN
ASSOCIATION OF PRO-LIFE
OBSTETRICIANS AND GYNECOLOGISTS,
on behalf of itself, its members, and their      No. 1:23-cv-01189
patients; GINA JOHNSEN, Representative,
Michigan House of Representatives; LUKE          HON. PAUL L. MALONEY
MEERMAN, Representative, Michigan House
of Representatives; JOSEPH BELLINO, JR.,         MAG. JUDGE RAY KENT
Senator, Michigan Senate; MELISSA
HALVORSON, M.D.; CHRISTIAN MEDICAL               REPLY IN SUPPORT OF
AND DENTAL ASSOCIATIONS, on behalf of            DEFENDANTS’ MOTION TO
itself, its members, and their patients;         DISMISS PLAINTIFFS’ FIRST
CROSSROADS CARE CENTER; CELINA                   AMENDED COMPLAINT
ASBERG; GRACE FISHER; JANE ROE, a
fictitious name on behalf of preborn babies;     ORAL ARGUMENT
ANDREA SMITH; JOHN HUBBARD; LARA                 REQUESTED
HUBBARD; SAVE THE 1, on behalf of itself
and its members; and REBECCA KIESSLING,
      Plaintiffs,
v
GRETCHEN WHITMER, in her official
capacity as Governor of the State of Michigan;
DANA NESSEL, in her official capacity as
Attorney General of the State of Michigan; and
JOCELYN BENSON, in her official capacity as
Secretary of State of the State of Michigan,
      Defendants.


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Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.350 Filed 04/24/24 Page 2 of 22




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      REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
             PLAINTIFFS’ FIRST AMENDED COMPLAINT

                        ORAL ARGUMENT REQUESTED


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Dated: April 24, 2024
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.351 Filed 04/24/24 Page 3 of 22




                                             TABLE OF CONTENTS

                                                                                                                          Page

Table of Contents ............................................................................................................ i

Index of Authorities ....................................................................................................... ii

Introduction ................................................................................................................... 1

Argument ....................................................................................................................... 2

I.        Plaintiffs’ alleged injuries do not satisfy Article III. ......................................... 2

II.       Plaintiffs’ arguments do not salvage their claims under Rule 12(b)(6). ........... 8

          A.        Plaintiffs’ arguments do not alter the longstanding recognition
                    that fetuses do not possess Fourteenth Amendment rights. .................. 9

          B.        Plaintiffs’ assertion that § 28 authorizes criminal sexual conduct
                    has been correctly rejected as “disturbing and nonsensical.” ............... 11

          C.        Plaintiffs’ parental-rights argument does not plead the requisite
                    state-based coercion. .............................................................................. 12

          D.        Plaintiffs’ Guarantee Clause Claim is non-justiciable and
                    implausible. ............................................................................................ 13

Conclusion and Relief Requested ................................................................................ 16




                                                                i
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.352 Filed 04/24/24 Page 4 of 22




                                        INDEX OF AUTHORITIES

                                                                                                                    Page


Cases

Ainscough v. Owens,
  90 P.3d 851 (Colo. 2004)............................................................................................. 3

Anspach v. City of Philadelphia, Department of Public Health,
  503 F.3d 256 (3d Cir. 2007)................................................................................ 12, 13

Dobbs v. Jackson Women’s Health Organization,
 597 U.S. 215 (2022) .............................................................................................. 9, 11

Doe v. Irwin,
 615 F.2d 1162 (6th Cir. 1980) .................................................................................. 12

Havens Realty Corp. v. Coleman,
 455 U.S. 363 (1982) ............................................................................................ 6, 7, 8

Hile v. Michigan,
  86 F.4th 269 (6th Cir. 2023) .................................................................................. 7, 8

Hooker v. Weathers,
 990 F.2d 913 (6th Cir. 1993) .................................................................................. 7, 8

Kanuszewski v. Michigan Department of Health and Human Services,
 927 F.3d 396 (6th Cir. 2019) .................................................................................... 12

Largess v. Sup. Jud. Ct. for State of Mass.,
  373 F.3d 219 (1st Cir. 2004)..................................................................................... 14

Lindsey v. Whitmer,
  No. 1:23-cv-1025; 2024 WL 1711052 (W.D. Mich. April 10, 2024) ........................... 5

Lujan v. Defenders of Wildlife,
  504 U.S. 555 (1992) .................................................................................................... 3

Nat’l Treasury Emps. Union v. United States,
 101 F.3d 1423 (D.C. Cir. 1996) .................................................................................. 7

New York v. United States,
 505 U.S. 144 (1992) .................................................................................................. 14




                                                             ii
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.353 Filed 04/24/24 Page 5 of 22




O’Neill v. Morse,
  188 N.W.2d 785 (Mich. 1971)................................................................................... 10

People v. Swider,
  No. 363450, 2023 WL 8106290 (Mich. Ct. App. Nov. 21, 2023) ............................. 11

Phillips v. Snyder,
  836 F.3d 707 (6th Cir. 2016) .............................................................................. 13, 14

Raines v. Byrd,
 521 U.S. 811 (1997) .................................................................................................... 5

Roe v. Wade,
  410 U.S. 113 (1973) .................................................................................................... 9

Romer v. Evans,
  517 U.S. 620 (1996) ................................................................................................ 2, 3

Rucho v. Common Cause,
 588 U.S. 684 (2019) .................................................................................................. 14

State by & through Tenn. Gen. Assembly v. U.S. Dep’t of State,
  931 F.3d 499 (6th Cir. 2019) .................................................................................. 5, 6

Va. House of Delegates v. Bethune-Hill,
  139 S. Ct. 1945 (2019) ................................................................................................ 5

Statutes

1998 PA 386 ................................................................................................................. 10

2023 PA 286, §§ 3, 5, 7 ................................................................................................... 6

42 U.S.C. § 238n ............................................................................................................ 4

42 U.S.C. § 300a-7(c)(1)(B) ............................................................................................ 4

42 U.S.C. § 300a-7(d) ..................................................................................................... 4

Mich. Comp. Laws § 700.2108 ..................................................................................... 10

Pub. L. No, 111-148, § 1303(b)(4) .................................................................................. 4

Pub. L. No. 111-117, § 508 ............................................................................................. 4




                                                              iii
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.354 Filed 04/24/24 Page 6 of 22




Constitutional Provisions

Mich. Const. art. I, § 28 ................................................................................................. 6

Mich. Const. art. I, § 28(1) ....................................................................................... 6, 15




                                                             iv
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.355 Filed 04/24/24 Page 7 of 22




                                  INTRODUCTION

      Plaintiffs’ response to Defendants’ motion to dismiss is, in large part, simply

a regurgitation of the far-fetched, implausible allegations found in their first

amended complaint. And their scant new arguments and allegations demonstrate

that their case contravenes settled Article III principles and is legally defective.

      For example, throughout their response, Plaintiffs either cite inapposite

caselaw or stretch applicable caselaw too far to support their attenuated purported

injuries and highly speculative claims. But, even in the face of these arguments,

there remains no basis to conclude that Proposal 3 or § 28 has harmed Plaintiffs or

that there is a substantial risk that it will harm them in the future.

      Similarly, in the merits context, Plaintiffs provide no meaningful analysis

and barely attempt to refute Defendants’ arguments that their substantive claims

are implausible. They raise arguments that controlling precedent squarely rejects;

this Court should, too. And their interpretations of § 28 and its impact—including

their asserted “parade of horribles”—border on the absurd and are wholly

unsupported by the plain text of § 28.

      At bottom, this lawsuit remains a fundamentally flawed, meritless, and

overtly political attack on a fundamental constitutional right that was supported by

a vast majority of Michiganders. For these reasons, and for the reasons stated in

Defendants’ opening brief, this Court should dismiss the first amended complaint.




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Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.356 Filed 04/24/24 Page 8 of 22




                                      ARGUMENT

I.     Plaintiffs’ alleged injuries do not satisfy Article III.

       On the whole, Plaintiffs’ responses to Defendants’ standing arguments repeat

the insufficient allegations contained in their amended complaint. For example,

instead of responding to Defendants’ assertion that Plaintiff-Parents’ injuries rely

on an extensive chain of contingencies, (ECF No. 30, PageID.237), Plaintiffs baldly

assert that they “face . . . a Hobson’s choice of either foregoing public school . . . or

subjecting their children to the threat of sexual predators” without explaining why

it is even remotely likely that they would face such a choice. (ECF No. 34,

PageID.310.) Similarly, rather than contending with the plain fact that § 28 in no

way curtails malpractice claims or civil remedies against those who cause patients

harm, (ECF No. 30, PageID.234–35), they proclaim that Asberg and Fisher face

imminent injury because § 28 somehow “removes legal protections for all pregnant

women.” (ECF No. 34, PageID.311.) In sum, while Plaintiffs’ parade of horribles is

long, their explanation for how those horribles will be caused by § 28 is short (or

non-existent) and speculative.

       To the extent Plaintiffs actually respond to Defendants’ motion, their

arguments are easily cast aside. Plaintiffs begin their standing argument by

analogizing this case to Romer v. Evans, 517 U.S. 620 (1996), suggesting that it

shows that they have standing here. (ECF No. 34, PageID.303.) A perplexing

argument to be sure: Romer did not involve a question or analysis of whether the

plaintiffs’ injury in that case satisfied Article III’s standing requirements. Nor




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Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.357 Filed 04/24/24 Page 9 of 22




could it have, as Romer was initiated in state court and went to the U.S. Supreme

Court by way of the Colorado Supreme Court, where the state defendants had lost

below. 1 517 U.S. at 625–26. Apart from that issue, Plaintiffs also erroneously use

Romer as a means to reduce Article III’s standing requirements, arguing that

Romer proceeded despite only a “risk of discrimination.” (See ECF No. 34,

PageID.303–04, emphasis omitted.) Of course, Romer is not only factually and

legally distinguishable from this case—it invalidated a constitutional amendment

“born of animosity” and designed to strip rights whereas § 28 aims to guarantee

rights 2—but the standing requirements that Plaintiffs aim to reduce are

“irreducible.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). This Court

should therefore afford no weight to Plaintiffs’ analogy to Romer.

      Plaintiffs also fail to explain how the purported injuries faced by medical

organizations and professionals are not speculative. Their primary theory of injury

is that § 28 prevents those organizations and professionals from “associating with”

or “working in government operated hospitals and facilities” or “working for

government employers.” (ECF No. 34, PageID.305.) As a preliminary matter, this


1 In other words, had the Court delved into Article III standing, that inquiry would

have focused not on the injury caused to the plaintiffs by the constitutional
amendment they were challenging, but instead the injury caused to the defendants
by the Colorado Supreme Court’s adverse decision invalidating that constitutional
amendment. And, in the event Plaintiffs here focus on the Romer plaintiffs
standing in state court, “Colorado has a tradition of conferring standing to a wide
class of plaintiffs” and its “court[s] frequently decided general complaints
challenging the legality of government activities and other cases involving
intangible harm.” Ainscough v. Owens, 90 P.3d 851, 853 (Colo. 2004).
2 For this reason, Romer is also inapposite in the context of Plaintiffs’ equal-

protection claim.


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Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.358 Filed 04/24/24 Page 10 of 22




 theory is speculative on its face as Plaintiffs have not identified a single medical

 professional—either among themselves or their thousands of members—who has

 been forced, since § 28’s enactment a year and a half ago, to (1) provide care that

 conflicts with their sincerely held religious beliefs, or (2) decline to work or associate

 with a State operated hospital or facility 3 based on a plausible and non-speculative

 fear of being required to compromise their sincerely held religious beliefs. That is

 not surprising as federal and state conscience laws protect medical professionals’

 religious objections to providing abortion care. The Church Amendments, for

 example, provide that doctors can “refuse[ ] to perform or assist” in an abortion or

 sterilization and that employers may not punish doctors for exercising that right.

 42 U.S.C. § 300a-7(c)(1)(B); 42 U.S.C. § 300a-7(d). The Public Health Service Act,

 42 U.S.C. § 238n, the Weldon Amendment, Pub. L. No. 111-117, § 508, and the

 Affordable Care Act, Pub. L. No, 111-148, § 1303(b)(4), provide similar protections.

 And Michigan’s own conscience laws—which have not been repealed under § 28—

 also protect medical providers. 4 Mich. Comp. Laws §§ 333.20181–333.20183.

 Because Plaintiffs offer no reason to believe medical organizations and professionals




 3 Plaintiffs fail to account for the fact that while the University of Michigan Health

 System may be a government actor, it is not “the State” or under the control of any
 of Defendants sued in this case. (ECF No. 34, PageID.305 n.8.) The same is true of
 any local government-operated hospitals and facilities.
 4 The Reproductive Health Act, 2023 PA 286, specifically lists statutes repealed, and

 the state conscience laws are not among those statutes. But even if those statutes
 were repealed by operation of § 28, federal conscience laws would still protect
 Plaintiffs.


                                             4
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.359 Filed 04/24/24 Page 11 of 22




 will be injured in this way—let alone that such an injury is imminent—their claims

 cannot satisfy Article III.

       Plaintiffs have also failed to overcome the extraordinary hurdle of showing

 legislator standing. Plaintiffs attempt to cast aside Raines v. Byrd, 521 U.S. 811

 (1997), asserting that “this case is unique in that § 28 nullifies the vote of every

 Michigan legislator who seeks legislation to regulate in the broad area of

 ‘reproduction’ . . . .” (ECF No. 34, PageID.306–07.) In doing so, Plaintiffs prove

 Defendants’ point: Because § 28 impacts “all Members of [a legislature] and both

 Houses [] equally,” no “member[ can] claim a ‘personal stake’ in the suit and the

 alleged injury [i]s not ‘sufficiently concrete’ to establish Article III standing.” State

 by & through Tenn. Gen. Assembly v. U.S. Dep’t of State, 931 F.3d 499, 514 (6th Cir.

 2019) (quoting Raines, 521 U.S. at 821, 830).

       For this reason, precisely the same standing theory was recently rejected in

 Lindsey v. Whitmer, No. 1:23-cv-1025; 2024 WL 1711052 (W.D. Mich. April 10,

 2024), a case in which two state senators and nine state representatives argued that

 Ballot Proposal 3 of 2018 and Ballot Proposal 2 of 2022—two successful voter-

 initiated constitutional amendments—violated their rights as legislators, taxpayers,

 and voters. In rejecting the plaintiffs’ legislator-standing theory, the court

 explained that “the deprivation of the power to cast a binding vote—is neither

 concrete nor particularized because it is shared by every single member of the

 Michigan Legislature.” Lindsey, 2024 WL 1711052, at *5; see also Va. House of

 Delegates v. Bethune-Hill, 139 S. Ct. 1945, 1953–54 (2019) (relying on Raines to




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Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.360 Filed 04/24/24 Page 12 of 22




 explain that “individual members lack standing to assert the institutional interest

 of a legislature”); Tenn. Gen. Assembly, 931 F.3d at 514 (“An individual legislator, or

 group of legislators, do not have Article III standing based on an allegation of an

 institutional injury, or a complaint about a dilution of legislative power[.]”).

       Two additional points bear emphasis here. First, § 28 does not prevent

 Plaintiff-Legislators from legislating in the field of reproduction. In fact, § 28(1)

 expressly authorizes the Legislature to “regulate the provision of abortion care after

 fetal viability.” The Legislature has also recently enacted laws in the area of

 reproduction through its enactment of the Reproductive Health Act (the “RHA”). To

 the extent § 28 requires courts to scrutinize laws passed in this substantive area

 more closely, it operates no differently than a wide swath of constitutional

 provisions. Second, and relatedly, the Michigan Legislature has already enacted

 the RHA, which codifies § 28 and provides a cause of action against governmental

 entities who violate either § 28 or § 3 of the RHA. 2023 PA 286, §§ 3, 5, 7. Thus, as

 a matter of redressability, a favorable ruling here would do nothing for Plaintiff-

 Legislators (or any of the Plaintiffs).

       Finally, as to organizational standing, Plaintiffs’ arguments concerning

 resource expenditure and lobbying also fail to move the needle. For example, they

 cite to Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), for the proposition that

 they have standing because they have expended resources in response to § 28.

 (ECF No. 34, PageID.312–14.) As Havens itself explains, organizational standing

 requires the challenged action to impose “more than simply a setback to the




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Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.361 Filed 04/24/24 Page 13 of 22




 organization’s abstract social interest.” 455 U.S. at 379. Rather, to adequately

 plead organizational standing, Plaintiffs must show that § 28 makes their “activities

 more difficult.” Nat’l Treasury Emps. Union v. United States, 101 F.3d 1423, 1430

 (D.C. Cir. 1996). For example, in Havens, the plaintiff specifically pleaded that the

 defendants’ racial steering impaired its “ability to provide counseling and referral

 service for low-and moderate-income homeseekers.” 455 U.S. at 379. In other

 words, the organizational plaintiff itself suffered an injury-in-fact and then spent

 money to counteract that injury. Id. (“Such concrete and demonstrable injury to the

 organization’s activities—with the consequent drain on the organization’s

 resources—constitutes far more than simply a setback to the organization’s abstract

 social interests.”) (emphasis added). But the external impairment of an

 organization’s provision of services is different from an organization’s internal

 choices about where to spend its funds, which is all Plaintiffs have alleged here.

 (See, e.g., ECF No. 34, PageID.313, “[RTL] has many programs that assist women in

 crisis pregnancy situations and/or help women to choose life for their unborn baby.

 These programs result in the expenditure of the organization’s resources, and the

 need for these programs has substantially increased as a result of Proposal 3.”) The

 organizational Plaintiffs allege no facts indicating that § 28 impedes their ability to

 further their mission; all they allege is that they will continue to perform the same

 activities that they did prior to § 28’s enactment. That is not enough.

       The same is true for Hile v. Michigan, 86 F.4th 269 (6th Cir. 2023), and

 Hooker v. Weathers, 990 F.2d 913 (6th Cir. 1993), on which Plaintiffs rely. At issue




                                            7
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.362 Filed 04/24/24 Page 14 of 22




 in Hile was “Article VIII, § 2’s bar on funding for private education,” and whether it

 prevented the plaintiffs from “lobby[ing] the Michigan legislature to allow them to

 use their 529 plans for religious-school tuition.” 86 F.4th at 275. Hile, however,

 involved a concrete and demonstrable injury that preceded the lobbying

 impairment—i.e., parents “wish[ed] to use their 529 plans to pay for their children’s

 religious-school tuition[,]” which Article VIII, § 2 barred. Id. Even then, the

 question of standing “[was] close[,]” 5 but the plaintiffs, at the very least, had alleged

 some type of injury apart from a “setback to . . . abstract social interest[ ]”—an

 injury that Havens disclaimed. 455 U.S. at 379. And in Hooker, while the facts are

 slim, it too held that there first must be “a concrete and demonstrable injury.” 990

 F.2d at 915. Ultimately, to read Havens, Hile, and Hooker as broadly as Plaintiffs

 suggest would allow any advocacy organization who opposes a law and intends to

 devote resources to that opposition to have standing. This would be a vast

 expansion of Article III standing principles and should be rejected by this Court.

       In summary, Plaintiffs fail to overcome the justiciability issues Defendants’

 raised in their opening brief.


 II.   Plaintiffs’ arguments do not salvage their claims under Rule 12(b)(6).

       As with their standing theories, Plaintiffs’ merits arguments merely restate

 the vague, conclusory, and implausible allegations of their amended complaint. As




 5 In addition to the Hile majority’s determination that standing was a close call,

 Judge Murphy, in dissent, opined that he “disagree[d] on the standing question and
 so would not reach the merits.” Hile, 86 F.4th at 283 (Murphy, J., dissenting).


                                             8
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.363 Filed 04/24/24 Page 15 of 22




 such, and for the sake of brevity, Defendants rely predominantly on the analysis

 outlined in their opening brief. However, four aspects of Plaintiffs’ response

 warrant further discussion: (1) Plaintiffs’ fetal-rights arguments muddle the

 distinction between federal constitutional rights and state-recognized common law

 or statutory rights; (2) § 28 in no way authorizes “sexual exploitation”; (3) Plaintiffs

 do not refute that state-based coercion is a necessary element of their parental-

 rights claim; and (4) Plaintiffs’ Guarantee Clause claim, as supplemented in their

 response brief, remains insufficient to state a claim.


       A.     Plaintiffs’ arguments do not alter the longstanding recognition
              that fetuses do not possess Fourteenth Amendment rights.

       Plaintiffs argue that the question of whether a fetus possesses rights under

 the Fourteenth Amendment remains open, and is one that this Court should

 “answer in the affirmative.” (ECF No. 34, PageID.335.) This misrepresents the

 status of federal law, and this Court should decline Plaintiffs’ invitation for two

 reasons.

       First, Plaintiffs claim that Roe v. Wade, which explicitly recognized that “the

 word ‘person,’ as used in the Fourteenth Amendment, does not include the unborn,”

 410 U.S. 113, 158 (1973), has been overruled in its entirety by Dobbs v. Jackson

 Women’s Health Organization, 597 U.S. 215 (2022). (ECF No. 34, PageID.333–34.)

 However, as Defendants noted in their opening brief, this portion of Roe was

 untouched by Dobbs and therefore remains good law. (ECF No. 30, PageID.263.)




                                            9
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.364 Filed 04/24/24 Page 16 of 22




 Not only that, but cases prior to Roe—which Plaintiffs fail to discuss—both

 explicitly and implicitly recognized the same. (Id. at PageID.263–65.)

       Second, Plaintiffs cite Michigan and other state case law for the proposition

 that fetuses may possess certain rights prior to birth and, consequently, must

 possess a right to life under the Fourteenth Amendment. (See ECF No. 34,

 PageID.336–38 & n.27.) It is true that, in certain contexts, fetuses have statutory

 and common-law rights, such as the ability to bring causes of action in tort or to

 inherit. E.g., O’Neill v. Morse, 188 N.W.2d 785, 785–86 (Mich. 1971) (recognizing

 that a common law negligence action lies for prenatal injuries, and holding that a

 statutory cause of action lies for wrongful death of a fetus); Mich. Comp. Laws §

 700.2108 (“An individual in gestation at a particular time is treated[, for purposes of

 inheritance,] as living at that time if the individual lives 120 hours or more after

 birth.”). 6 But that fact has no bearing on the question of their rights under the U.S.

 Constitution. Indeed, despite many opportunities to do so, no court has ever

 recognized that fetuses possess rights under the Fourteenth Amendment—and

 many, including the Supreme Court, have rejected the notion. Even Dobbs

 recognized this distinction, stating, “[O]ur decision is not based on any view about

 when a State should regard prenatal life as having rights or legally cognizable




 6 Notably, this statutory provision was enacted during the Roe era, 1998 PA 386,

 demonstrating that Roe’s recognition that fetuses do not possess rights under the
 Fourteenth Amendment does not mean that fetuses may possess no other rights
 under the law.


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Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.365 Filed 04/24/24 Page 17 of 22




 interests.” 597 U.S. at 254 (emphasis added); see also id. at 262–63 (describing the

 protection of fetal life as a State interest).

        Simply put, longstanding precedent forecloses Plaintiffs’ Fourteenth

 Amendment claims brought on behalf of fetuses.


        B.     Plaintiffs’ assertion that § 28 authorizes criminal sexual
               conduct has been correctly rejected as “disturbing and
               nonsensical.”

        In both their amended complaint and in response to Defendants’ motion to

 dismiss, Plaintiffs repeatedly claim that § 28 “prohibits the enforcement of criminal

 statutes . . . designed to protect children,” such as statutes criminalizing child

 sexual abuse. (E.g., ECF No. 23, PageID.143, 155, 161, 167, 179, ¶¶ 6, 58, 81, 102,

 160; ECF No. 34, PageID.323–24, 329.) Last year, the Michigan Court of Appeals

 found this argument meritless. People v. Swider, No. 363450, 2023 WL 8106290, at

 *8 (Mich. Ct. App. Nov. 21, 2023). In Swider, the defendant claimed that § 28

 limited the State’s ability to convict him of first-degree criminal sexual conduct. Id.

 Rejecting this argument in no uncertain terms, the court stated:

        [The defendant] appears to be suggesting that MCL 750.520b
        impermissibly criminalizes sexual activity and that child sexual abuse
        is somehow encompassed within the “fundamental right to
        reproductive freedom.” Const. 1963, Art. 1, § 28. That argument is
        disturbing and nonsensical. Unsurprisingly, [the defendant] has
        provided no legal or factual support for the argument that MCL
        750.520b violates the Michigan Constitution’s protections for
        reproductive freedom. This argument is meritless and abandoned. . . .

 Id. Plaintiffs likewise provide no legal or factual support for their suggestion that

 § 28 prevents the State from criminalizing sexual exploitation.




                                              11
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.366 Filed 04/24/24 Page 18 of 22




       As in Swider, this Court should disregard Plaintiffs’ argument as “disturbing

 and nonsensical.”


       C.     Plaintiffs’ parental-rights argument does not plead the
              requisite state-based coercion.

       In an attempt to address Defendants’ argument that they have failed to state

 a parental-rights claim, Plaintiffs assert that this case is unlike the claims analyzed

 in Doe v. Irwin, 615 F.2d 1162 (6th Cir. 1980), and Anspach v. City of Philadelphia,

 Department of Public Health, 503 F.3d 256 (3d Cir. 2007). (ECF No. 34,

 PageID.328–29.) But Plaintiffs fail to recognize that, regardless of their factual

 backgrounds, Irwin and Anspach map onto this case without any friction: Both

 cases rejected claims that offering reproductive care to minors interferes with

 parental decision-making when (1) the care in question was not compulsory, and (2)

 the minors’ parents remained completely free to be involved in their children’s care.

 Irwin, 615 F.2d at 1168; Anspach, 503 F.3d at 264, 267.

       Plaintiffs’ citation to Kanuszewski v. Michigan Department of Health and

 Human Services, 927 F.3d 396 (6th Cir. 2019), does nothing to save their claim, as

 Kanuszewski did not alter this general rule. (ECF No. 34, PageID.326–27.)

 Notably, Kanuszewski involved an appeal from a Rule 12 dismissal, which obligated

 the Sixth Circuit to accept as true the plaintiffs’ allegations that the Michigan

 newborn screening program retained, used, and sold their children’s blood samples

 automatically, without informed consent. 927 F.3d at 420. The Court concluded

 that, subject to factfinding, the plaintiffs had plausibly alleged that the State had




                                           12
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.367 Filed 04/24/24 Page 19 of 22




 inserted itself between the parent and their child—consistent with the coercion

 element articulated in Irwin and Anspach. Id.

       In contrast, here, Plaintiffs allege no facts suggesting that the state has

 taken or will take any automatic action under § 28 with respect to Plaintiff-Parents’

 minor children. In fact, as noted in Defendants’ opening brief, § 28 does not

 mandate that any individual exercise their right to reproductive freedom (or, for

 that matter, engage in any activity whatsoever). (ECF No. 30, PageID.268.) Like in

 Anspach, where the court emphasized that the “services offered at a public health

 clinic are wholly voluntary” and provided “only at the request of individuals who

 come there and ask for them,” 503 F.3d at 269, § 28 is triggered only when an

 individual affirmatively seeks to exercise that right. Parental involvement is

 nowhere burdened, discouraged, or prohibited.

       Ultimately, the required element of state coercion is lacking from Plaintiffs’

 parental-rights claim, making dismissal appropriate.


       D.     Plaintiffs’ Guarantee Clause Claim is non-justiciable and
              implausible.

       As Defendants noted in their opening brief, the Supreme Court has

 “[t]raditionally . . . held that claims brought under the Guarantee Clause are

 nonjusticiable political questions.” Phillips v. Snyder, 836 F.3d 707, 716 (6th Cir.

 2016) (quotations omitted). It recently reaffirmed this tradition, noting that “[t]his

 Court has several times concluded . . . that the Guarantee Clause does not provide

 the basis for a justiciable claim.” Rucho v. Common Cause, 588 U.S. 684, 718




                                           13
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.368 Filed 04/24/24 Page 20 of 22




 (2019). 7 Plaintiffs provide no basis for concluding that this traditional Guarantee

 Clause jurisprudence does not apply here.

       Instead, in their response to Defendants’ motion to dismiss, Plaintiffs assert,

 for the first time, that controlling case law provides an exception to this general rule

 of non-justiciability. (ECF No. 34, PageID.341–45.) Yet Plaintiffs do not explain

 the contours of such an exception, do not outline the factors for application of such

 an exception, do not apply those factors to the instant case, and do not cite to a

 single case (precedential or otherwise) in which such an exception was found to

 apply—let alone a case analogous to this. Instead, support for Plaintiffs’ reading of

 the Guarantee Clause comes largely from scholarship. (E.g., ECF No. 34,

 PageID.341–44.) However, “scholars have interpreted [the relevant] portion of the

 Guarantee Clause in numerous, often conflicting, ways.” Largess v. Sup. Jud. Ct.

 for State of Mass., 373 F.3d 219, 226 (1st Cir. 2004) (compiling scholarship). As

 such, this Court should not put much stock in the musings of scholars in this

 context, especially when contrary to a longstanding tradition of non-justiciability.

       In any event, even assuming that Guarantee Clause claims may, in certain

 rare circumstances, be justiciable, Plaintiffs’ claim is not because it is implausible.

 Plaintiffs argue that their claim “is a challenge to the specific ‘non-republican




 7 Notably, in rejecting as non-justiciable the Guarantee Clause claim in Rucho, the

 Supreme Court did not engage in any analysis of the purported exceptions that
 Plaintiffs today advance—despite deciding Rucho nearly three decades after it
 ostensibly “expressed doubt that all Guarantee Clause challenges are not
 justiciable” in New York v. United States, 505 U.S. 144 (1992). Phillips, 836 F.3d at
 717.


                                            14
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.369 Filed 04/24/24 Page 21 of 22




 feature’ passed pursuant to Proposal 3[,] which nullifies the authority of an entire

 branch of state government (legislative branch) to pass laws addressing

 ‘reproduction’—an exceedingly broad area that has historically been within its

 legitimate legislative domain.” (ECF No. 34, PageID.343.) But Plaintiffs do not

 sufficiently explain how § 28 prohibits such legislative action or “immun[izes]”

 reproduction from any form of regulation. In fact, and wholly to the contrary, the

 plain language of § 28 explicitly contemplates that the state may regulate where

 such regulation is “justified by a compelling state interest achieved by the least

 restrictive means.” Mich. Const. art I, § 28(1). Moreover, “the state may regulate

 the provision of abortion care after fetal viability, provided that in no circumstance

 shall the state prohibit an abortion that, in the professional judgment of an

 attending health care professional, is medically indicated to protect the life or

 physical or mental health of the pregnant individual.” Id. Plaintiffs do not explain

 how this language could possibly be interpreted as completely foreclosing any form

 of legislation “addressing ‘reproduction,’ ” such that the legislature’s authority in

 this area is “nullifie[d.]” (ECF No. 34, PageID.343.) In fact, as previously noted,

 the Michigan legislature recently passed the RHA, demonstrating that it is possible

 to legislate in the area of “reproduction.”

       At bottom, Plaintiffs’ Guarantee Clause claim (Claim VI) is both non-

 justiciable and implausible. It should therefore be dismissed.




                                               15
Case 1:23-cv-01189-PLM-RSK ECF No. 35, PageID.370 Filed 04/24/24 Page 22 of 22




                  CONCLUSION AND RELIEF REQUESTED

       For these reasons and the reasons stated in Defendants’ opening brief, this

 Court should dismiss the amended complaint with prejudice.

                                              Respectfully submitted,

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                                         16
